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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DAWN ZIMMERMAN, et al.,                               CASE NO. 2:22-CV-40

                                     Plaintiffs,      JUDGE:

vs.                                                   MAGISTRATE JUDGE:
RUSS STEAMER SERVICE, LLC, d/b/a                      NOTICE OF REMOVAL
RSS TRAILER REPAIR, LLC, et al.,

                                   Defendants.



       Now comes Defendant, Target Corporation (“Target”) and hereby timely files this

Removal pursuant to 28 U.S.C. Sections 1332, 1441 and 1446, removing this matter from the

Court of Common Pleas, Franklin County, Ohio to the United States District Court for the Southern

District of Ohio, Eastern Division, and in support thereof, states as follows:

       1.      This action was commenced by Plaintiff, Dawn Zimmerman, on October 26, 2021

in the Franklin County Court of Common Pleas, Franklin County, Ohio as Case No. 21-CV-

006803. This matter was commenced against Defendants, Russ Steamer Service LLC, State of

Ohio, Bureau of Workers’ Compensation, Amerit Fleet Solutions, Inc., Target Corporation and

John/Jane Doe #1-25.
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       2.     This Notice of Removal is brought by and on behalf of Target Corporation.

Counsel for Target Corporation has consulted with counsel for Defendants, Russ Steamer Service,

LLC and Amerit Fleet Solutions, Inc. and has been advised that Defendants, Russ Steamer Service,

LLC and Amerit Fleet Solutions, Inc. consent to this removal.

       3.     Attached hereto as Exhibits A through U are copies of all filings made in this matter

in the Franklin County Court of Common Pleas:

                     Exhibit A – Complaint.

                     Exhibit B – Summons issued to State of Ohio, Bureau of Workers
                      Compensation.

                     Exhibit C – Summons issued to John/Jane Does #1-25.

                     Exhibit D – Summons issued to Amerit Fleet Solutions, Inc.

                     Exhibit E – Summons issued to Target Corporation.

                     Exhibit F – Summons issued to Russ Steamer Service, LLC.

                     Exhibit G – Stipulated Consent to Plead filed by Amerit Fleet Solutions,
                      Inc.

                     Exhibit H – Answer to Complaint filed by Defendant, State of Ohio, Bureau
                      of Workers’ Compensation.

                     Exhibit I – Motion of Defendant, State of Ohio, Bureau of Workers’
                      Compensation for Realignment of the Parties.

                     Exhibit J – Complaint (proposed) of Plaintiff, State of Ohio, Bureau of
                      Workers’ Compensation.

                     Exhibit K – Stipulated Consent to Move or Plead filed by Russ Steamer
                      Service, LLC.

                     Exhibit L – Answer of Defendant, Russ Steamer Service, LLC.

                     Exhibit M – Exhibits to Answer of Defendant, Russ Steamer Service LLC.

                     Exhibit N – Plaintiff’s Memo Contra to the Motion of Defendant, State of
                      Ohio, Bureau of Workers’ Compensation for Realignment of the Parties.




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                      Exhibit O – Answer of Defendant, Target Corporation to Plaintiffs’
                       Complaint.

                      Exhibit P – Motion for Admission to Appear pro hoc vice on behalf of
                       Heather M. Sager.

                      Exhibit Q – Exhibits in Support of Motion for Admission to Appear pro hoc
                       vice on behalf of Heather M. Sager.

                      Exhibit R – Motion of Defendant, Russ Steamer Service, LLC for Judgment
                       on the Pleadings or, in the alternative, for Summary Judgment.

                      Exhibit S – Affidavit of Russ Spranger with exhibits.

                      Exhibit T – Answer of Amerit Fleet Solutions, Inc. to Complaint.

                      Exhibit U – Order Granting Motion for Permission for Heather M. Sager to
                       Appear pro hoc vice.

       4.      Defendant, Target Corporation, was served with the Summons and Complaint on

October 30, 2021.

       5.      Defendant, Russ Steamer Service, LLC, was served with the Summons and

Complaint on November 5, 2021.

       6.      Defendant, Amerit Fleet Solutions, Inc., was served with the Summons and

Complaint on October 29, 2021.

       7.      This is a civil action for money damages. Plaintiff, Dawn Zimmerman, is alleging

that she sustained personal injuries as a result of an accident which allegedly occurred at a Target

Distribution Center in West Jefferson, Ohio on or about October 30, 2019. Plaintiff, Dawn

Zimmerman alleges that she injured two of the fingers on her right hand as a result of the accident,

that she was seen in the Emergency Room, that she suffered severe and permanent injuries, pain

and suffering, mental anguish and loss of enjoyment of life, and that she has incurred medical and

hospital expenses and will continue to incur such expenses. Plaintiff further alleges in the

Complaint that she has incurred loss of income, permanent disfigurement and other damages.



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       8.      Plaintiffs’ Complaint seeks recovery of a judgment against Defendants in an

unspecified amount in excess of $25,000.00 plus an unspecified amount of punitive damages and

unspecified amounts for pre-judgment and post-judgment interest, costs and attorneys’ fees.

       9.      Prior to being served with the Summons and Complaint, Defendant, Target

Corporation, had no notice or knowledge regarding Plaintiffs’ claim, no information regarding the

nature and extent of Plaintiff’s alleged injuries or the amount of her claimed damages or medical

expenses.

       10.     Defendant, Target Corporation, was served on December 9, 2021 with the Answer

of Defendant, State of Ohio, Bureau of Workers’ Compensation. Defendant, State of Ohio, Bureau

of Workers’ Compensation admits that it has paid monies on behKalf of Plaintiff pursuant to a

Workers’ Compensation claim filed by Plaintiff arising out of the incident alleged and described

in Plaintiffs’ Complaint. The Answer filed on behalf of the State of Ohio, Bureau of Workers’

Compensation, alleges that it is asserting a statutory subrogation lien in connection with payments

it has made to or on behalf of Plaintiff pursuant to her Workers’ Compensation claim. The Answer

filed on behalf of the State of Ohio, Bureau of Workers’ Compensation, alleges that as of

November 3, 2021, the statutory subrogation liens being asserted on behalf of the State of Ohio,

Bureau of Workers’ Compensation were $37,412.93 for medical bills, $48,936.21 for

compensation and $25,632.01 for future estimated costs associated with the Plaintiff’s Workers’

Compensation claim. Those liens total $111,981.15.

       11.     Prior to receiving the Answer of Defendant, State of Ohio, Bureau of Workers’

Compensation, Target Corporation had no information or knowledge regarding the monetary

amount in controversy in this case.




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       12.     Based on the information set forth in the Answer of Defendant, State of Ohio,

Bureau of Workers’ Compensation, the amount in controversy in this case exceeds the amount of

$75,000.00.

       13.     This case is removable to Federal Court pursuant to 28 U.S.C., Sections 1332 and

1441, because it is a civil action where the amount in controversy exceeds the value of $75,000.00

inclusive of interest and costs and is between citizens of different states.

       14.     Plaintiffs, Dawn and Dennis Zimmerman, are residents of Sabina, Ohio, according

to the address for them set forth in the Complaint.

       15.     Defendant, Target Corporation, is a foreign corporation that is incorporated in the

state of Minnesota and has its primary place of business in Minnesota.

       16.     Defendant, Amerit Fleet Solutions, Inc., is a foreign corporation that has its primary

place of business in the state of California and is incorporated in California

       17.     Defendant, Russ Steamer Services, LLC is a foreign corporation that has its

principal place of business in the state of Michigan and is incorporated in Michigan.

       18.     This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. Section 1332. This action may be removed to this Court pursuant to 28 U.S.C. Section

1441(a).

       19.     This matter is properly removed by Defendant, Target Corporation, as this Notice

of Removal is being filed and served within thirty (30) days of the date that Target Corporation

first became aware that the amount in controversy in this case would meet the requirements for

removal of this matter to Federal Court.

       20.     Defendants, Russ Steamer Service, LLC and Amerit Fleet Solutions, Inc., have

consented to removal of this matter. Consent for removal does not need to be obtained from the




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State of Ohio, Bureau of Workers’ Compensation, as they are a nominal party and participating in

this case only for purposes of protecting and/or asserting their statutory subrogation lien.

       21.     Defendant has paid all fees required by law in connection with this Notice of

Removal.

       22.     Written notice of the filing of this Notice or Renewal will be given to counsel for

all parties and the Franklin County Court of Common Pleas.

       WHEREFORE, Defendant, Target Corporation, hereby removes this action now pending

against it from the Franklin County Court of Common Pleas to the United States District Court for

the Southern District of Ohio, Eastern Division.


                                                       Respectfully submitted,


                                                       /s/ Bradley L. Snyder
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                                                       Attorney for Target Corporation




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Consented by:


/s/ Kelly E. Mulrane (per approval)                   /s/ Heather M. Sager (per approval)
Kelly E. Mulrane                                      Heather M. Sager
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Inc.                                                  Attorney for Defendant, Amerit Fleet
                                                      Solutions, Inc.


/s/ Aaron M. Glasgow (per approval)
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                                CERTIFICATE OF SERVICE

        A copy of the foregoing was served on January 6, 2022 by sending it via electronic means

to the email address(es) identified below:


        Theran J. Selph, Sr.                            Aaron M. Glasgow
        Aaron Tompkins                                  Isaac Wiles & Burkholder, LLC
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        atompkins@selphlaw.com                          Service, LLC
        Attorneys for Plaintiffs

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        Defendant State of Ohio, Bureau of Workers’
        Compensation


                                             /s/ Bradley L. Snyder
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